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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION
      .


                                  TRANSFER ORDER


          It is hereby ORDERED that the following criminal cases are transferred to the

 Honorable Jeremy D. Kernodle, effective immediately.



          4:22-cr-00084-SDJ-CAN          USA v. Castillo, et al
          4:22-cr-00110-SDJ-CAN          USA v. Hill, et al

           So ORDERED and SIGNED this 17th day of June, 2022.




                                                    ____________________________________
                                                    SEAN D. JORDAN
                                                    UNITED STATES DISTRICT JUDGE
